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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                (NORTHERN DIVISION)

DOREEN HENRY                                 *

          Plaintiff,                         *
                                                     Case No.: 1:23-cv-01285-SAG
v.                                           *

TERRANCE HALL, ET AL.                        *

          Defendants.                        *

*         *       *     *      *      *      *       *      *      *      *       *      *

                                             ORDER

          Upon consideration of Plaintiff’s Motion for Leave to Amend Complaint to Add Necessary

Party (“Motion for Leave to Amend Complaint”), and any responses and replies filed thereto, it is

this ____ day of ______________, 2024, hereby:

          ORDERED, that the Motion for Leave to Amend Complaint is GRANTED; and it is

further

          ORDERED, that the First Amended Complaint attached to the Motion for Leave to Amend

Complaint shall be deemed as filed as of the date of this Order.



                                                     __________________________________
                                                     Stephanie A. Gallagher,
                                                     United States District Judge
